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           In the United States Court of Federal Claims
                                          No. 18-871T
                                    (Filed: February 3, 2021)

                                              )
 TIMOTHY C. DEVINE,                           )
                                              )
                      Plaintiff,              )
                                              )
 v.                                           )
                                              )
 UNITED STATES,                               )
                                              )
                       Defendant.             )
                                              )
                                              )

                                            ORDER

       On February 3, 2021, the plaintiff filed a motion (ECF 54) pursuant to Rules 59 and 60 of
the Rules of the Court of Federal Claims (“RCFC”) to alter or amend the judgment. Pursuant to
RCFC 59(f), the defendant shall file its response to the plaintiff’s motion by February 19, 2021.
The plaintiff shall file any reply to the defendant’s response by February 26, 2021.

       It is so ORDERED.


                                                                s/ Richard A. Hertling
                                                                Richard A. Hertling
                                                                Judge
